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                 Exhibit C
         Myers & Stauffer Array
  Created at Direction of Mark G. Duggan
          Cigna DMERC 1998Q4




Exhibit to the March 12, 2010 Motion In Limine to Exclude Certain Evidence and Argument
                           Related to Plaintiffs’ Damages Claim
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ORIGINAL ARRAY (Per Carrier Array Documents)
                                                                   DMERC Medication Pricing

                                   UNIT      PRICE LIST DRUG                                         AWP FROM     RED BOOK      COST/UNIT     DATE LAST UPDATED
 CODE           DESCRIPTION       DOSAGE          NAME         LISTED DOSAGE NDC NUMBER              RED BOOK       DATE         DOSAGE       UPDATED     BY

K0518      Ipratropium Bromide 1 mg          Compumed          .02%, 2.5ml 25s       00403-0229-18   $    40.30   1998 annual   $      3.22   6/30/1998        CH
           Unit dose                         Dey               .02%, 2.5ml 25s       49502-0685-03   $    44.10   1998 annual   $      3.53   6/30/1998        CH
                                             Dey               .02%, 2.5ml 60s       49502-0685-60   $   105.60   1998 annual   $      3.52   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 25s       00054-8402-11   $    44.06   1998 annual   $      3.52   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 30s       00054-8402-13   $    52.87   1998 annual   $      3.52   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 60s       00054-8402-21   $   105.74   1998 annual   $      3.52   6/30/1998        CH

           MEDIAN = $       $         3.52
           MEDIAN LESS 5% = $         3.34

KO & KP     $            3.52
UD(mg) x                   0.5
       =                  1.76
 J7051 -                  0.19
       =                  1.57
UD(mg) /                   0.5                                                                           no changes through 09/30/98   MR
  KQ        $            3.14                                                                               no changes through 12/98   MR

           K0518KQ LESS 5% = $        2.98


REVISED ARRAY - DEY ONLY
                                                                   DMERC Medication Pricing

                                   UNIT      PRICE LIST DRUG                                         AWP FROM     RED BOOK      COST/UNIT     DATE LAST UPDATED
 CODE           DESCRIPTION       DOSAGE          NAME         LISTED DOSAGE NDC NUMBER              RED BOOK       DATE         DOSAGE       UPDATED     BY

K0518      Ipratropium Bromide 1 mg          Compumed          .02%, 2.5ml 25s       00403-0229-18   $    40.30   1998 annual   $      3.22   6/30/1998        CH
           Unit dose                         Dey               .02%, 2.5ml 25s       49502-0685-03   $    19.94   1998 annual   $      1.60   6/30/1998        CH
                                             Dey               .02%, 2.5ml 60s       49502-0685-60   $    47.90   1998 annual   $      1.60   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 25s       00054-8402-11   $    44.06   1998 annual   $      3.52   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 30s       00054-8402-13   $    52.87   1998 annual   $      3.52   6/30/1998        CH
                                             Roxane            .02%, 2.5ml 60s       00054-8402-21   $   105.74   1998 annual   $      3.52   6/30/1998        CH

           MEDIAN = $       $         3.37
           MEDIAN LESS 5% = $         3.20

KO & KP     $            3.37
UD(mg) x                    0.5
       =                 1.685
 J7051 -                  0.19
       =                 1.495
UD(mg) /                    0.5                                                                          no changes through 09/30/98   MR
  KQ        $            2.99                                                                               no changes through 12/98   MR

           K0518KQ LESS 5% = $        2.84




                                                                                 2                                                                1998 Q4s-3
                                                                                                                                                           1
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REVISED ARRAY - ROXANE ONLY
                                                                           DMERC Medication Pricing

                                     UNIT       PRICE LIST DRUG                                             AWP FROM       RED BOOK       COST/UNIT      DATE LAST UPDATED
  CODE          DESCRIPTION         DOSAGE           NAME             LISTED DOSAGE NDC NUMBER              RED BOOK         DATE          DOSAGE        UPDATED     BY

K0518      Ipratropium Bromide 1 mg             Compumed             .02%, 2.5ml 25s        00403-0229-18   $      40.30   1998 annual   $        3.22    6/30/1998        CH
           Unit dose                            Dey                  .02%, 2.5ml 25s        49502-0685-03   $      44.10   1998 annual   $        3.53    6/30/1998        CH
                                                Dey                  .02%, 2.5ml 60s        49502-0685-60   $     105.60   1998 annual   $        3.52    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 25s        00054-8402-11   $      20.08   1998 annual   $        1.61    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 30s        00054-8402-13   $      24.68   1998 annual   $        1.65    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 60s        00054-8402-21   $      49.74   1998 annual   $        1.66    6/30/1998        CH

           MEDIAN = $       $            2.44
           MEDIAN LESS 5% = $            2.32

KO & KP     $              2.44
UD(mg) x                     0.5
       =                    1.22
 J7051 -                    0.19
       =                    1.03
UD(mg) /                     0.5                                                                                   no changes through 09/30/98    MR
  KQ        $              2.06                                                                                       no changes through 12/98    MR

           K0518KQ LESS 5% = $           1.96

REVISED ARRAY - DEY & ROXANE
                                                                           DMERC Medication Pricing

                                     UNIT       PRICE LIST DRUG                                             AWP FROM       RED BOOK       COST/UNIT      DATE LAST UPDATED
  CODE          DESCRIPTION         DOSAGE           NAME             LISTED DOSAGE NDC NUMBER              RED BOOK         DATE          DOSAGE        UPDATED     BY

K0518      Ipratropium Bromide 1 mg             Compumed             .02%, 2.5ml 25s        00403-0229-18   $      40.30   1998 annual   $        3.22    6/30/1998        CH
           Unit dose                            Dey                  .02%, 2.5ml 25s        49502-0685-03   $      19.94   1998 annual   $        1.60    6/30/1998        CH
                                                Dey                  .02%, 2.5ml 60s        49502-0685-60   $      47.90   1998 annual   $        1.60    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 25s        00054-8402-11   $      20.08   1998 annual   $        1.61    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 30s        00054-8402-13   $      24.68   1998 annual   $        1.65    6/30/1998        CH
                                                Roxane               .02%, 2.5ml 60s        00054-8402-21   $      49.74   1998 annual   $        1.66    6/30/1998        CH

           MEDIAN = $       $            1.63
           MEDIAN LESS 5% = $            1.55

KO & KP     $              1.63
UD(mg) x                      0.5
       =                   0.815
 J7051 -                    0.19
       =                   0.625
UD(mg) /                      0.5                                                                                  no changes through 09/30/98    MR
  KQ        $              1.25                                                                                       no changes through 12/98    MR

           K0518KQ LESS 5% = $           1.19


NOTES:

1. Source: Hard copy arrays, scanned image files, AWQ039-0045 and AWQ039-0046.
2. The original array did not contain NDC numbers. The NDC numbers for the Dey and Roxane products were annotated on AWQ039-0045 and
AWQ039-0046 by CIGNA on 1/17/2008. The NDC number for the remaining product was annotated by Myers and Stauffer from th

3. According to the carrier array document, the Medicare allowance amounts are calcluated in cells C13 and C23 of the original array and cells C38, C48, C62, C72, C86, and C96 of
the revised arrays. The allowance amounts for the KO and KP modifiers are




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